Case 2:05-cr-20045-.]P|\/| Document 10 Filed 05/25/05 Page 1 of 4 Page|D 9

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MEMPHls DlvlsioN
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-v- 2:050R20045-01-M|

 

TREAS|E MCKENZ|E
Samue| Perkins CJA
Defense Attorney
147 Jefferson Avenue, #804
N|emphis, TN 38103

 

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the information on February 23, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section NM_O_U€M Offense Nu_mtm(§)
Conc|uded
18 U.S.C. § 4 N|isprision of a Fe|ony 01/22/2004 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 11/23/1974 l\/|ay 25, 2005
Deft’s U.S. Marshal No.: 20124-076

Defendant’s Maiiing Address:
10816 North Utica Drive

oklahoma city, oi< 73120 § O‘QQ
(
Mm) K

JON PHIPPS |VlCCALLA
N|TED TATES D|STR|CT JUDGE

May 33 , 2005

!`nis document entee'eo` on ‘_`ne docketésjteet in Compiiance
with Huie 55 and/or 32{0) FF\'CrP on z’@ ’Q 5

 

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PROBATION

The defendant is hereby placed on probation for a term of 30 Months.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weaponsl The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month',

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons',

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shafl refrain from the excessive use of alcohol and shall not purchasel possess, use.

distribute. or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold. used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ocher;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:05CR20045-01-lvll Defendant Name: Treasie MCKENZ|E Page 3 of 3

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if thisjudgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal lVlonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

2. The defendant shall seek and maintain full-time employment

3. The defendant shall cooperate with DNA collection as directed by the Probation Office_

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of F’ayments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and detinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Special Assessment shall be due immediately.

FlNE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20045 Was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed.

ENNESSEE

 

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Samuel L. Perkins

SL PERKINS LAW GROUP, PLLC
147 Jefferson Ave.

Ste. 804

1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

